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                                                L,tw DnpanrnnrNr                                     ALLYSON N. BROWN
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Corporation Counsel                                 NEW YORK, NY IOOOT                                 phone: (212) 356-3521
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                                                                          May 24,2018
         BY ECF
         Honorable Vernon S. Broderick
         United States District Judge
         United States District Court
         Southern District of New York
         40 Foley Square
         NewYork,NewYork 10007

                          Re:    Scott Hill v. City o f New York- et al
                                 11 cv 1420 (vsB)

         Your Honor:

                          I am the Assistant Corporation Counsel in the Special Federal Litigation Division
         of the Office of the Corporation Counsel assigned to this matter. This Office writes to provide
         the Court with a status regarding our efforts to identify the John Doe defendants in compliance
         with the Court's Valentin Order.

                        On April 23, 2018, this Office informed the Court that we were in receipt of a
         letter from Plaintiff dated April 11, 2018, which provided additional details of the individuals
         alleged to be involved in the incident, as well as other dates of incidents. (ECF Docket Entry
         No. 19.) Consequently, this Office informed the Court that it would use this new information to
         continue our investigation, in lieu of serving Plaintiff with identification interrogatories. As
         such, the Court endorsed the April 23rd Ietter, and ordered that both this Office and the New
         York State Attorney General's Office provide the Court with a status by May 24,2018. (ECF
         Docket Entry No. 20.)

                         While PlaintifPs April 1lth letter provided greater detail as to the identities of the
         officers Plaintiff seeks to name as defendants, it also raises fuither issues that hinder this Office's
         ability to comply with the Valentin Order. In the April 1lth letter, Plaintiff describes four out of
         the five John Doe Correction Officers as probably "wearing a grey button down shirt/uniform."
         (Attached as Exhibit A is Plaintiffs letter dated April 11,2018.) Plaintiff further explains that
         although he listed these John Does as corrections officers, due to the change in custody at the
         courtroom, those John Does may also be court officers or police officers. (See Plaintiffls April
         11th Letter.) In an effort to resolve the issue regarding the agency who had custody of Plaintiff
         at the time of the incident, this Office contacted the Attorney General's Office and the New York
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City Department of Correction ("DOC") to inquire as to the color of the uniforms wom by their
members at the court section. The Attorney General's Office confirmed that all New York State
Court Officers wear navy blue shirts and pants, and that commanding officers who hold a rank
wear navy blue pants with a white shirt. The Attorney General's Office reiterated this
information in their letter to the Court today. (ECF Docket Entry No. 21.) Additionally, New
York City Police Department ("NYPD") officers also wear navy blue uniforms, and members of
service over the rank of sergeant may wear a white shirt. DOC members also wear navy blue
uniforms, with ranking mem-bers wearing a white shirt. Upon information and belief, the only
DOC officers who wear grey uniforms are recruits, who are not assigned to the court section.

               Notwithstanding, on May 17, 2018, the undersigned visited the anaignment part
of the Criminal Court on 100 Centre Street, Manhattan, New York to determine the roles of the
relevant agencies' officers, as well as the color of their uniforms. Based on the undersigned's
observations, DOC, NYPD, and Court oflicers who were present in the courtroom during
arraignments, all wore navy blue uniforms, except one member of NYPD who wore a white shirt
and navy blue pants. Upon further inquiry, this Office was informed on }l4ay 17,2018, that
NYPD officers walk the prisoners into and out of the courtroom during arraignment, and then
transfer physical custody of the prisoner to DOC officers if the prisoner is remanded into DOC
custody. Since Plaintiff contends that the incident occurred "between the holding pens and the
courtroom," NYPD members must again be included, although none of the agencies who could
be involved wear the color uniform Plaintiff describes.

               At this point, this Office believes it cannot comply with the Valentin Order based
on the information Plaintiff has provided, and we seek the Court's guidance as to how to proceed
with this matter.

                Thank you for your consideration herein.

                                                           Respectfully submitted,


                                                                     . Brown
                                                           Assistant Corporation Couns el
                                                           Special Federal Litigation Division

cc     Scott   Hill (viafirst class mail)
       Plaintiffpro   se
       298 Nome Avenue
       lst Floor
       Staten Island, New    York 10314




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    EXHIBIT A
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                                                                            .-1f'* & $i'ar:r:
April   11, 2018

Allyson Brown
The City of New York L.,aw Department
100 Church Street
New York, NY 10007

Re:      Hill   v. The People of the state of New   York; t:17-cv-01420-VSB
         DescriPtion of Defendants

Dear Ms, Brown:

                            to your   April 10,2018 letter. Below   please find the requested
I am writing in response
inlbrmation:

Date: January 14,2016
Location: 10b Centre Street, New York,       NY   10013, in between holding pens and the coudroom
Time: ApproximatelY 3 :00Pm
Individuals:

1. John Dne Corections Ollicer #1: Male corrections         officer who was over six feet tall, was
     built, had short hair, and had tan skin. May have been llispanic or Italian, may
                                                                                        have been
                                                                                      put me in a
     wearing a grey button doym shirt / uniform, John [)oe Corrections Officer #1
     headloJk, ind*tn put his knees on my head      and nry neck  after I wa$ taken to the ground'


Z.   John Doe Corrections Officer #2: Male corrections officer who was approximately
                                                                                       5'l 1",
                                                                             wearing a grey
     had a medium build, apd may have been a light skinned African American
                                                                         knee on my chest after
     button down shirt / unilbrm.lohn Doe Corrections Officer #2 had his
     I was taken to the ground.

     John Doe Corrections Officer #3: Male corrections officer who held my feet
                                                                                   when I was
3.
     taken to the ground. I could not see John Doe Corrections Officer
                                                                       #3 well because he was

     holding mY feet.

                                                                                 than 5'l 1", had
4.   .Iohn Doe Corrections Officer fl4: Male corrections officer who was shorter
     a medium build, and was Asian' He may have been
                                                        wearing a gfey buttgl down shirt /
     uniform. John Doe Corrections Ofticer #4 put my  right hand in handcuffs when I was taken
     to the ground.

                                                                      of unknown height, had a
5.   John Doe Corrections Officer #5: Male corrections officer who is
                                                                    240lbs, and may have
     medium build, and was African American. He was approximately
                                                           Doe Conections Officer #5 was
     been wearing a grey button down shirt / uniform" John
     kicking my stomach when I was taken to   the ground'

please note that although I have listed Jolur Does #l-#5 as corrections officers, due to the change
                                                                                14, 2016, John
oi"rrtnOy ttrat ttapp"ni druing an"aignments that happened to lne on January
Does #1 - #5 may be court officers or police officers'
                                                  I
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Date: January 14,2016- approxirnately Januaty          ?1,20t6
Location: Manhattan Detention Complex
lndividuals:

        John Doe Corrections Officer #6: Male corrections officer who is of unknown
                                                                                           height, was
6,
                                                                                  #7
        under 5, t 1,,, and was African American. John Doe Conections Officer
                                                                                      was stationed
                                                                                        that I was
        outside the holding pen where I was being kept. I told this corrections officer
                                                      I     tluown   up and  he did nothing.
        throwing up blood?d showecl him the blood       had

                                                                                             He was
7   .   .Iohn Doe Corrections Officer #?: Male corrections officer who was a captain.
                                                                                             OfTicer #8
        African America, had a medium build, and wore glasses. John Doe Corrections
                                                         a supervisor for John Doe  Corrections  officer
        came to *ry holcling cell, and may have been
                                                                              noted that I was throwing
        #7. I told this corrections officer that I was throwing up blood,  he
        up blood, but did nothing to helP me'

g.      John Doe Corrections Officer #8: Male corrections officer who is of unknown
                                                                                           height, was
        under S, Ilu,and was African American. John Doe Corrections Officer #8
                                                                                      was stationed
                                                  kept. I told this corrections officer that I was
        outside the holding pen where I was being
                                                                             he did nothing.
        throwing up blooiand showed him the blood I had thrown up       and


Date: Approximately January 21,2016 to January 27,2416
Location: Riker's island
Individuals:

        John Doe Dpctor #9. Male cloctor who refused to treat me at infirmary I went to
                                                                                         on Riker's
9.                                                                                        When I
        Island. John Doe Doctor #9 had dark skin and may  have been Aftican   or Jamaica.
                                                                 would  not treal me'
        showed my injuries to John Doe Doctor #9, he told me  he



Please let me know       if you have any questions,   or need any other informaticn'


Respectfully,


    *r #/
Scott     Hill
298 Nome Ave.
    1st Floor
Staten Island, NY 10314
7 l 81568-8805




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